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RANDALL GORMAN, ET AL CIVIL ACTION

: {consolidated with
VS. NO, 06-8500 os- 48a)
LEXINGTON INSURANCE CO. SECTION SR°4— KD

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ORDER
____ Considering the foregoing Motion to Withdraw as Counsel for Plaintiffs’:
IT IS ORDERED that Thomas P. LeBlanc, be and hereby is allowed to withdraw as counsel
for plaintiffs and that he be removed from the lists of the Court, counsel and the clerk to receive
notice in this matter.

THUS DONE, READ AND SIGNED this __ day of , 2007, in

, Louisiana.

UNITED STATES DISTRICT JUDGE
